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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH DAKOTA
                                    SOUTHERN DIVISION



                                             *


UNITED STATES OF AMERICA,                    *       CR 20-50122-02
                                             *


               Plaintiff,                    *
                                             *


       vs.                                   *                  ORDER
                                             *


KIMBERLEY PITAWANAKWAT,                      *
                                             *


               Defendant.                    *
                                             *




       A new investigator has been recommended by Magistrate Judge Duffy, subject to approval
by ChiefJudge Lavenski Smith. The Defendant has previously moved for a speedy trial. Defendant
now moves for continuation ofthe trial date. This case was first filed on September 17,2020. The
charges are not complex. On June 16,2023,Doc.244,a new trial date was set. A Notice ofAppeal
has also been filed by the Defendant, Doe. 268. No good cause has been shown for continuing the
trial date of October 16, 2023. There is adequate time for trial preparation. Accordingly,
       IT IS ORDERED that the Motion to Continue, Doe. 267, is denied.

       Dated this       day of August, 2023.

                                             BY THE COURT:



                                               iftuAtoc(jm
                                               iawrenee L. Piersol
                                             United States District Judge
ATTEST:
MATTHEW W. THELEN,CLERK
